                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

KELLY ADAMS,                                       )
                                                   )
v.                                                 )           Nos. 1:10-cr-23/1:11-cv-250
                                                   )           Judge Curtis L. Collier
UNITED STATES OF AMERICA,                          )
                                                   )

                                         MEMORANDUM

            Kelly Adams (“Adams”) has filed a pro se motion requesting post-conviction relief

pursuant to 28 U.S.C. § 2255 (Crim. Court File No. 182).1 Adams pleaded guilty, with the benefit

of a plea agreement, to possession with intent to distribute 5 grams or more of cocaine base in

violation of 21 U.S.C. §§ 841(a)(1) & (b)(1)(B) and was sentenced to the mandatory minimum

sentence of 60 months imprisonment. Adams alleges her sentence is unconstitutional and she is

entitled to be re-sentenced under the 2010 Fair Sentencing Act (“FSA”) and that counsel was

ineffective for failing to challenge her criminal history which she claims is overstated. The United

States opposes the motion.

        After reviewing the parties’ filings, the relevant law, and the record, the Court concludes the

motion will be GRANTED IN PART AND DENIED IN PART (Criminal Court File No. 182).

The judgment of conviction entered against Adams on October 26, 2010, will be AMENDED and

CORRECTED to the following limited extent. The sentence in criminal case number 1:10-cr-23

will be VACATED and the Clerk will be ORDERED prepare a new judgment to reflect Adams’



corrected and recalculated sentence based on the United States Sentencing Guidelines (“USSG”) that


        1
              Each document will be identified by the Court File Number assigned to it in the
underlying criminal case.


     Case 1:10-cr-00023-TRM-CHS            Document 201         Filed 10/30/12      Page 1 of 12
                                           PageID #: 623
are now applicable.

I.              STANDARD OF REVIEW

        A federal prisoner may file a motion pursuant to 28 U.S.C. § 2255 to vacate, set aside, or

correct his conviction or sentence on the ground that it was imposed in violation of the United States

Constitution. This Court must vacate and set aside the conviction or sentence if it finds that “the

judgment was rendered without jurisdiction, or that the sentence imposed was not authorized by law

or otherwise open to collateral attack, or that there has been such a denial or infringement of the

constitutional rights of the prisoner as to render the judgment vulnerable to collateral attack, ....” 28

U.S.C. § 2255(b).

        To obtain relief under § 2255 based on an alleged constitutional error, the burden is on a

movant to establish an error of constitutional magnitude which had a substantial and injurious effect

or influence on the criminal proceedings. Brecht v. Abrahamson, 507 U.S. 619, 637-38 (1993); Hill

v. United States, 368 U.S. 424, 428 (1962); Griffin v. United States, 330 F.3d 733, 736 (6th Cir.

2003); Watson v. United States, 165 F.3d 486, 488 (6th Cir.1999). To warrant relief under § 2255,

a movant is required to show a fundamental defect in the criminal proceedings which inherently

results in a complete miscarriage of justice or an egregious error that rises to the level of a violation

of constitutional due process. Davis v. United States, 417 U.S. 333, 346 (1974); Griffin, 330 F.3d

at 736; Gall v. United States, 21 F.3d 107, 109 (6th Cir.1994).

        When a defendant files a § 2255 motion, he must set forth facts which entitle him to relief.

Green v. Wingo, 454 F.2d 52, 53 (6th Cir.1972); O’Malley v. United States, 285 F.2d 733, 735 (6th

Cir.1961). “Conclusions, not substantiated by allegations of fact with some probability of verity, are

not sufficient to warrant a hearing.” Green v. Wingo, 454 F.2d at 53; O’Malley, 285 F.2d at 735


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     Case 1:10-cr-00023-TRM-CHS            Document 201          Filed 10/30/12       Page 2 of 12
                                           PageID #: 624
(citations omitted). A motion that merely states general conclusions of law without substantiating

allegations with facts, is without legal merit. Loum v. Underwood, 262 F.2d 866, 867 (6th Cir.1959);

United States v. Johnson, 940 F.Supp. 167, 171 (W.D.Tenn.1996). Thus, a motion consisting of

mere legal conclusions unsupported by factual allegations is insufficient to warrant an evidentiary

hearing or § 2255 relief. Short v. United States, 504 F.2d 63 (6th Cir. 1974) (“No hearing is required

in a section 2255 proceeding if the motion raises no cognizable claim, if the allegations in the

motion are unreasonably vague, conclusory, or incredible, or if the factual matters raised by the

motion may be resolved on the record before the district court”).

II.      PROCEDURAL HISTORY

         On February 23, 2010, the Grand Jury for the Eastern District of Tennessee, Chattanooga

Division, filed a ten-count indictment charging Adams in two counts of the indictment (Criminal

Court File No. 3). Adams and others were charge with conspiring to distribute at least five grams

of crack cocaine (Count Five), and she and a co-defendant were charged with possession with intent

to distribute at least five grams of crack cocaine (Count Eight), both in violation of 21 U.S.C.

§ 841(a)(1) and (b)(1)(B) (Criminal Court File No. 3).

         Adams pleaded guilty on May 26, 2010, to Count Eight of the Indictment, pursuant to a

written plea agreement with the United States, in consideration of the government’s agreement to

move the Court to dismiss Count Five at the time of sentencing (Criminal Court File No. 92). The

presentence investigation report (“PSR”) calculated Adams sentence based on 19.4 grams of crack

cocaine for a base offense level of 24 (PSR, ¶¶ 43, 44). After a two-level reduction for a minor role

in the offense and a three-level reduction for acceptance of responsibility, her total offense level was

19 (PSR, ¶¶ 45, 50, 53). Although Adams’ criminal history category of II placed her in the


                                                   3


      Case 1:10-cr-00023-TRM-CHS           Document 201         Filed 10/30/12       Page 3 of 12
                                           PageID #: 625
Guideline range of 33 to 41 months’ imprisonment, she was subjected to the 60-month statutory

mandatory minimum under 21 U.S.C. § 841(b)(1)(B) (PSR, ¶¶ 60, 78, 79). Adams was sentenced

to 60 months imprisonment based on the applicable mandatory minimum on October 14, 2010, and

her judgment was entered on October 26, 2010 (Criminal Court File No. 149, Judgment). Adams

did not pursue a direct appeal but timely filed the instant § 2255 motion on September 6, 2011

(Criminal Court File No. 182, § 2255 motion).

III.   FACTS

       As part of her plea agreement, Adams agreed she possessed, or aided and abetted the

possession of five grams or more of cocaine base (“crack”) with the intent to distribute it. In

addition, she agreed and stipulated to the following facts:

       a. On January 7, 2009, law enforcement stopped a vehicle in which the defendant
       was the passenger. The officers ran a trained narcotics detection dog around the car,
       and the dog “hit.” The officers searched and found a cookie of cocaine base
       (“crack”), which weighed 19.4 grams according to a TBI lab test, in a coat the
       defendant was wearing.

       b. An expert would testify that 19.4 grams of cocaine base (“crack”) is a distribution
       amount. Further, the defendant would admit that her co-defendant, Marcus Smith,
       who was the driver of the aforementioned car was gong to sell the cocaine base
       (“crack”) and that she was aiding and abetting that illegal narcotics transaction.

       c. All of these events occurred in the Eastern District of Tennessee.

(Criminal Court File No. 92).

IV.    ANALYSIS OF CLAIMS

       Adams raises two claims. First, she alleges her sentence is unconstitutional under the 2010

Fair Sentencing Act (“FSA”). Second, she contends counsel was ineffective for failing to challenge

the validity of her prior criminal convictions. The Court will address Adams’ ineffective assistance

of counsel claim before analyzing her FSA claim and correcting and recalculating her sentencing

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   Case 1:10-cr-00023-TRM-CHS            Document 201         Filed 10/30/12      Page 4 of 12
                                         PageID #: 626
guideline range.

       A.      Ineffective Assistance of Counsel

       Adams contends counsel was ineffective for failing to challenge the validity of her prior

convictions and argue her criminal history was overstated. Adams, however, fails to provide any

factual support for this claim. Indeed, Adams fails to demonstrate any of prior convictions were

invalid or explain what argument counsel should have advanced to demonstrate her criminal history

was overstated.

       To establish ineffective assistance of counsel, Adams must demonstrate a deficiency by

counsel which rendered counsel’s assistance objectively unreasonable and demonstrate the deficient

performance resulted in prejudice to her. The Supreme Court, in Strickland v. Washington, 466 U.S.

668 (1984), established the criteria for determining whether a Sixth Amendment claim of ineffective

assistance of counsel is meritorious. The Strickland test requires a defendant to demonstrate two

essential elements: (1) counsel’s performance was deficient, i.e., below the standard of competence

demanded of attorneys in criminal cases; and (2) counsel’s deficient performance prejudiced the

defense, i.e. deprived the defendant of a fair trial rendering the outcome of the trial unreliable. Id.

at 687-88; see also Flippins v. United States, 808 F.2d 16, 17-18 (6th Cir.), cert. denied, 481 U.S.

1056 (1987).

       Where a Sixth Amendment claim of ineffective assistance of counsel is made in a § 2255

proceeding in the context of a guilty plea, the prejudice prong of the Strickland test is adjusted.

Therefore, Adams is required to allege and show there is a reasonable probability that, but for her

counsel’s errors and deficient performance, she would not have pleaded guilty, and she would have

insisted on going to trial. Hill v. Lockhart, 474 U.S. 52, 58-59 (1985) (“[I]n order to satisfy the


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   Case 1:10-cr-00023-TRM-CHS              Document 201         Filed 10/30/12      Page 5 of 12
                                           PageID #: 627
‘prejudice’ requirement, the defendant must show that there is a reasonable probability that, but for

counsel’s errors, he would not have pleaded guilty and would have insisted on going to trial.” ). To

demonstrate a reasonable probability that she would have gone to trial, Adams is required to present

evidence apart from a lone assertion that but for counsel’s error she would have pleaded not guilty

and gone to trial. See Parry v. Rosemeyer, 64 F.3d 110, 118 (3d Cir.1995) (“A defendant alleging

ineffective assistance of counsel in the guilty plea context must make more than a bare allegation

that but for counsel’s error he would have pleaded not guilty and gone to trial.”), cert. denied, 516

U.S. 1058 (1996).

       The standard by which a court reviews counsel’s performance is highly deferential, and there

is a strong presumption counsel’s conduct was within the wide range of reasonable professional

assistance. Strickland, 466 U.S. at 689; Sims v. Livesay, 970 F.2d 1575, 1579-80 (6th Cir. 1992).

“[R]eviewing court[s] must remember that ‘counsel is strongly presumed to have rendered adequate

assistance and made all significant decisions in the exercise of reasonable professional judgment.’”

Wong v. Money, 142 F.3d 313, 319 (6th Cir.1998), (quoting Strickland v. Washington, 466 U.S. at

690. “An error of counsel, even if professionally unreasonable, does not warrant setting aside the

judgment of a criminal proceeding if the error had no effect on the [ultimate] judgment.” Id. at 691.

       Initially, the Court observes that, contrary to the standard identified in Hill v. Lockhart,

Adams has neither alleged nor demonstrated a reasonable probability that, but for her counsel’s

alleged error and deficient performance she would not have pleaded guilty and would have insisted

on going to trial on both of the charges against her. Indeed, Adams does not seek to have the entire

plea agreement set aside nor does she deny her involvement with the quantity of drugs for which she

was sentenced. Rather, Adams seeks to keep and retain all of the benefits of her plea agreement that


                                                 6


   Case 1:10-cr-00023-TRM-CHS             Document 201         Filed 10/30/12      Page 6 of 12
                                          PageID #: 628
accrued to her, including her three level reduction for acceptance of responsibility and two level

reduction for her minor role, while at the same time she attempts to challenge her prior criminal

history, and have the Court resentence her based on her alleged eligibility for the safety valve.

Consequently, Adams has failed to demonstrate prejudice in relation to her ineffective assistance

of counsel claim.

       In addition, the burden is on Adams to prove she is entitled to relief in this § 2255

proceeding. Owen v. United States, 660 F.2d 696, 702 (6th Cir. 1981). In violation of Rule 2(b) of

the Rules Governing Section 2255 Proceedings in the United States District Court, Adams has failed

to provide any factual support for her ineffective assistance of counsel claim raised in her § 2255

motion. Therefore, the Court concludes, in addition to failing to demonstrate any prejudice as the

result of counsel’s alleged deficient performance, Adams’s factually unsupported allegations are

insufficient to support an evidentiary hearing or a request for relief under § 2255. See Oliver v.

United States, 961 F.2d 1339, 1343 n. 5 (7th Cir. 1992) (“No hearing is required in a section 2255

proceeding if the . . . allegations in the motion are unreasonably vague [or] conclusory[.]”)

       Nevertheless, although Adams’ § 2255 motion does not comport with Rule 2 of the Rules

Governing Section 2255 Proceedings in the United States District Court, the Court will address her

claim, to the extent possible, based on the limited information provided in the motion.

       Adams claims her criminal history was overstated and, as the Court understands her claim,

trial counsel was ineffective for failing to challenge her prior convictions. Adams seemingly claims

that if counsel had challenged her prior convictions she may have been eligible for the safety valve

provision. The burden is on Adams to prove she is entitled to relief in this § 2255 proceeding.

Owen v. United States, 660 F.2d 696, 702 (6th Cir. 1981). Adams, however, has failed to identify


                                                 7


   Case 1:10-cr-00023-TRM-CHS            Document 201         Filed 10/30/12      Page 7 of 12
                                         PageID #: 629
on what grounds her prior convictions could have been attacked. Adams has produced no evidence

indicating that her prior convictions were invalid or her criminal history category substantially over-

represented the seriousness of her criminal history category. Notably, Adams had several matters

handled through the Hamilton County Juvenile Court, three of which resulted in her placement into

the Tennessee Preparatory School, and two of which were dismissed. Adams’ juvenile matters were

not counted in her criminal history calculation. Likewise, Adams had several misdemeanor matters

in Hamilton County Sessions Court which did not count in her criminal history calculation. Adams’

conviction for driving on a revoked or suspended license for which she received two criminal history

points established a criminal history category of II. There is no evidence before this Court from

which it can even infer that there is a legitimate basis upon which counsel could have contested

Adams’ criminal history or the resulting criminal history category. Consequently, Adams cannot

demonstrate any merit to such a challenge or any resulting prejudice from the alleged failure.

       Also contrary to Adams contention, it does not appear that even if counsel had persuaded the

Court to depart downward to criminal history category I, she would have been eligible to benefit

from the safety valve provisions because there is absolutely no proof in either the criminal record

or the § 2255 record, that she met all the criteria to warrant such a benefit. Specifically, there is no

proof Adams did “not have more than 1 criminal history point, as determined under the sentencing

guidelines before application of subsection (b) of § 4A1.3” § 5C1.2(a)(1).

       Consequently, Adams has not demonstrated any deficiency in counsel’s performance and

resulting prejudice, thus she is not entitled to any § 2255 relief on her claim that counsel failed to

challenge her criminal conviction and criminal history points. See United States v. Kimler, 167 F.3d

889, 893 (5th Cir. 1999) (“An attorney’s failure to raise a meritless argument cannot . . . form the


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   Case 1:10-cr-00023-TRM-CHS              Document 201         Filed 10/30/12       Page 8 of 12
                                           PageID #: 630
basis of a successful ineffective assistance of counsel claim because the result of the proceeding

would not have been different had the attorney raised the issue.”). Accordingly, Adams will be

DENIED § 2255 relief on this claim.

       B.      FSA

       Adams, who was sentenced for possessing with the intent to distribute 19.4 grams of crack

cocaine before the Fair Sentencing Act of 2010, Pub. L. No. 111-220, 124 Stat. 2372 (“FSA”) was

enacted, seeks to reduce her sentence pursuant to the FSA and Dorsey v. United States, ___ U.S.

___, 132 S.Ct. 2321 (2012).2 On August 3, 2010, Congress passed the FSA that, inter alia, reduced

the statutory penalties for crack cocaine offenses and the disparity in federal criminal penalties

between powder and crack cocaine offenses. Specifically, the Act amends the sentencing provisions

in 21 U.S. C. § 841(b)(1) by raising from 50 grams to 280 grams the amount of crack necessary to

trigger the 10 year mandatory minimum sentence, and raising the amount from 5 to 28 grams

necessary to trigger the 5-year minimum. 21 U.S.C. §§ 841(b)(1)(A)(iii) and (b)(1)(B)(iii). Dorsey

v. United States, 132 S.Ct. at 2329.

       On June 12, 2012, the United States Supreme Court held that the Act’s mandatory minimum

sentencing provisions apply to all sentences imposed on or after the enactment date of August 3,

2010, regardless of when the offense conduct occurred. Dorsey v. United States, 132 S.Ct. at 2335.

In Dorsey, the Supreme Court held that the FSA applies to those who committed crimes prior to the

passage of the Act, but were sentenced after the August 3, 2010, effective date.


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              Adams filed a motion for a sentence reduction under 18 U.S.C. § 3582(c) raising the
same argument after filing this instant § 2255 motion (Criminal Court File No. 184). Although the
Court previously granted that motion and reduced her sentence to 33 months (Criminal Court File
No. 195), upon reconsideration at the government’s request, the Court concluded it was proper to
address the matter in this § 2255 proceeding.

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   Case 1:10-cr-00023-TRM-CHS            Document 201        Filed 10/30/12        Page 9 of 12
                                         PageID #: 631
        The Act applies to Adams, who committed her offense involving 19.4 grams of crack cocaine

on January 7, 2009, and was sentenced on October 14, 2010. Under the Act, neither the 5-year

mandatory minimum sentence nor the previously calculated Guideline sentencing range apply to

Adams. Therefore, Adams is entitled to relief under the Act and her previously imposed sentence

must be vacated.

        Adams’ previous advisory guideline range was 33-41 months, based on a Criminal History

Category II and a total offense level of 19. However, her effective guideline range was 60 months

based on the mandatory minimum sentence. The United States Probation Office (“USPO”) has

calculated Adams’ amended guideline range as 27 to 33 months, based on a total offense level of

17 and criminal history II category, and states she could be eligible for immediate release. The

Court has reviewed both the previous Presentence Report and the Memorandum Regarding

Retroactivity Amendment 750 which included Adams’ amended guideline range.

V.      CORRECTION OF SENTENCE-RIGHT TO BE PRESENT AND RIGHT OF
        ALLOCUTION

        The Court “is authorized under Section 2255 to take necessary and appropriate action to

correct the entire sentence package in accordance with the comprehensive sentencing scheme

embodied in the United States Sentencing Guidelines (USSG).” United States v. Crowder, 947

F.Supp. 1183, 1189 (E.D. Tenn. 1996), aff'd No. 96-6684, 1998 WL 57292 (6th Cir. 1998).

Therefore, the Court will “reevaluate the entire aggregate sentence to ensure that [Adams] receives



the appropriate sentence . . . i.e., the sentence the Court would have originally imposed on [Adams]

on Count [Eight] under the [now applicable] sentencing guidelines . . .” Id.

        Since there is no additional evidence, nor are there any disputed facts, there is no need for

                                                 10


     Case 1:10-cr-00023-TRM-CHS           Document 201        Filed 10/30/12      Page 10 of 12
                                          PageID #: 632
another sentencing hearing as part of the Section 2255 proceeding since, under Rule 32 of the

Federal Rules of Criminal Procedure, Adams has already had an opportunity at the original

sentencing hearing to challenge the accuracy and reliability of the information contained in the

presentence investigation report and to present any mitigating evidence. There is also no need to

have Adam present for this sentence correction. See Pasquarille v. United States, 130 F.3d 1220,

1223 (6th Cir. 1997) (“There is no constitutional right to allocution under the United States

Constitution . . . [and the] right to speak before the imposition of sentence under Fed.R.Crim.P.

32(c)(3)(C), applies to the original sentence and not to the subsequent resentencing.”) (citing to Hill

v. United States, 368 U.S. 424, 428 (1962)). Thus, the Court will correct Adams’ sentence without

having her present. See 28 U.S.C. § 2255 (b) (“If the court finds that the judgment . . . [is] open to

collateral attack, . . . the court shall vacate and set the judgment aside . . . and shall . . . resentence

him . . . or correct the sentence as may appear appropriate.”); 28 U.S.C. § 2255(c) (“A court may

entertain and determine such motion without requiring the production of the prisoner at the

hearing.”). Only considering the facts that were before it during Adams’ original sentencing, the

Court corrects Adams’ sentence in this § 2255 proceeding as explained below.

VI.     RECALCULATING THE SENTENCE GUIDELINE RANGE

        Adams’ § 2255 motion will be GRANTED to the following extent–her 60 month sentence

will be VACATED and SET ASIDE and the Clerk will be ORDERED to prepare an amended

judgment.



        The USPO has recalculated Adams guidelines. Application of the now applicable guideline

range results in a reduction of Adams’ original guideline range of imprisonment of 33 to 41 months.


                                                    11


  Case 1:10-cr-00023-TRM-CHS                Document 201         Filed 10/30/12        Page 11 of 12
                                            PageID #: 633
Application of Amendment 750 to this case establishes a lower base offense level of 22. Applying

the previous level reductions for acceptance of responsibility and her minor role, her adjusted

offense level is 17. With a criminal history category of II, the Court calculates the new sentencing

guideline range on Count Eight to be 27 to 33 months. After considering the entire record and for

the reasons explained during Adams’ original judgment proceedings, the Court concludes that a

sentence at the high end of the guidelines is warranted and that the sentence on Count Eight will be

AMENDED and CORRECTED to THIRTY-THREE (33) MONTHS of imprisonment. Adams’

original four year term of supervised release on criminal case number 1:10-cr-23 will remain in

effect as will her $100.00 assessment.       It appears Adams is entitled to be released from

imprisonment at this time under the terms of the sentence on Count Eight in criminal case number

1:10-cr-23 as corrected.

       A separate judgment order will enter.



                                               /s/
                                               CURTIS L. COLLIER
                                               UNITED STATES DISTRICT JUDGE




                                                12


  Case 1:10-cr-00023-TRM-CHS             Document 201        Filed 10/30/12      Page 12 of 12
                                         PageID #: 634
